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Attorneysfor Defendr:nt Twin City Ft`re Insurcmce Company

IN THE UNITED STATES DISTRICT COURT
FOR THE DISTRICT OF NEW JERSEY

COMPANY,

PHARMACIA CORPORATION )

N.-“KJA PFIZER INC., )
)

Plaintiff, ) C.A. No. 2:18-cv-00510-ES-MAH
)
v. )

) Judge Michael A. Hammer

ARCH SPECIALTY INSURANCE )

COMPANY, TWIN CITY FIRE )

INSURANCE COMPANY, and ) CONSENT ORDER

LIBERTY MUTUAL INSURANCE ) AMENDING DEADL[NES
)
)
)

Defendants.

'I`HIS MATTER having been brought before the Court on the request of Man`anne May,
Esq., attorney for defendant, Twin City Fire Insurance Company, with agreement of all parties to
this aetion, for an Order amending certain deadlines set forth in the Court’s Scheduling Order
dated June 15, 2018 (Doc. 56).

The Court having considered the parties’ request and for good cause shown;

ad
IT IS on this g ""' day of , 2018, ORDERED AS

FOLLOWS:
1. All terms of the Court’s June 15, 2018 Scheduling Order (Doc. 56) remain in

effect other than as set forth herein.

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2. Paragraphs 2 and 4 of the Court’s Scheduling Order is amended such that
depositions of fact witnesses and individuals who will give lay opinion testimony based on
particular competence in an area are to be completed no later than Janua;y 31l 2019.

3. Paragraph 5 of the Court’s Scheduling Order is amended to permit the parties to
submit discovery disputes (other than those arising during depositions) to the Court’s attention

no later than November 30 2018.

 

4. Paragraph 16 of the Court’s Scheduling Order is amended to require affirmative

expert reports to be delivered by Februag l l, 2019.

jaéé /(___) ,U.s.M.J.

SO ORDERED.

Consent as to form, content and substance of the Consent Order:

r`s,-' Robin L. Cohen
McKooL SMlTH, P.C.
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Cotmselfor Defendmn‘ Arch Specr`a!ty Insru'cmce Company

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